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''    '
                                     UNITED STATES DISTRICT COuRT
                                  FOR THE           9ISTRICT OF TEXAS

                                                                                                  JOGEKThLEENCARDQNE
                                                 To Be Used By A Prisoner in Filing a Complaint
                                          '     Under the Civil Rights Act, 42 US.C. § 1983

      1%




     Plain'ti'ffs name and ID number

     c\c       v'j.   UQ\y                              cij
     P lace of Confinement

                                                                                          (Clerk will assign the number)
     V.



                        MitQn                    it1kj1
     Defendant!s name and address

           e&r(cxc.s ko'Fh.                    ecnce1
     Defendant's name and address

     ikoeRWe
     liefendant'S     UQU1   Q        O
                                              eQf1
                                              !CSS

          kexoc7             6\   \       ci c            wc
                                                 INSTRUCTIONS - READ CAREFULLY
     NOTICE:

     Your complaint is subject to dismissal unless it conforms to these instructions and this form.
                                                                                                               keep
         To start an ation ypu must file an original and one copy of your complaint with the court. You should
      copy of the complaint for your own records.
                                                                                                     sign and declare
         Your complaint must be legiblyhandwritten, in ink, or typewritten. You, the plaintiff, must
      under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE
                                                                                                    TIlE REVERSE
      SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL                           BLANK   PAGE AND  WRITE ON IT.

      3. You must file a separate complaint for each claim you have unless the various claims are all
                                                                                                       related to the
         same incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure.
            Make a short and plain statement of your claim, Rule 8, Federal Rules of Civil
                                                                                        -
                                                                                           Procedure
                 -

                                                                                                                          for
      4.    When these forms are cqmpleted, mail the original and one copy to the Clerk of the United States Court
            the approprite District of Texas in the Division where one or more named defendants are loctd, 1dr whdfè
            the incident ivingrise to your claim for relief occurred. The list labeled as "VENUE LIST" is posted in your
            unit law library. It isa list of the Texas prison units indicating the appropriate District Court, the Division
            and an address list of theDivisional Clerks.                                                            1.




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FILING FEE AND IN FORMA PAUPERIS

I. In order for your complaint to be filed, it must be accompanied by the filing fee of $350.00.

2. If you do not have the necessary funds to pay the filing fee in full at this time, you may request permission to
proceed informa pauperis. In this event you must complete the application to proceed in forma pauperis (JFP,),
 etting forth information to establish your inability to prepay the fees and costs or give security. therefor. You
must also include a current six (6) month history of your Inmate Trust Account. You can acquire the application
to proceed IFP afld apprbpriate Inmate Account Certificate from.the law library at your prison unit.

3. 28 U.S.C. 1915, as amended by the Prison Litigation Reform Act           of 1995 (PLRA), provides, "...if a prisoner
brings a civil action or files an appeal informapauperis, the prisoner shall be required to pay the full amount of
k filing fee." Thus, theCourt is required to assess and, when funds exist, collect, the entire filing fee or an initial
partial filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner.
 f you submit th application to proceed informapauperis , the Court will apply 28 U.S.C. 1915 and, if
appropriate, assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from
your Inmate Accunt, Until the entire $350 filing fee has been paid.
                           1

4. If yoU intento seek1informapauperis status, then do not send your complaint without an ApictiOn to
Proceed IFP, ahd the Certificate of Inmate Trust Account. Complete all the essential" à i'ôik befot
 Ubmitting it to the Court.

     IIANGE OF ADDRESS                                                                      .



       It is youi resonsibility to inform the Court of any change of address and its effective date Such notice
       should be marked "NOTICE TO TIlE COURT OF CHANGE OF ADDRESS" and shall not include ansi
       motion (s) for any other relief. Failure to file a NOTICE TO THE COURT OF ChANGE OF ADDRESS
       may result in the dismissal of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure


      PREVIOUS LAWSUITS

          A. Have 'oU filed any other lawsuits in state or federal court relating to your imprisonnièrit?

          B. Jf your answer to "A" is "yes," describe each lawsuit in the space below. (If there is more than one
              lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

              1.   4proxiiiate date of filing lawsUit:______________________________
              2. Iarties to revious lawsuit:
                 Piaiñtiff(s)___________________________________________________
                   Defendant(s)________________________________________________________

             3. COurt: (If federal, name the district;   if state, name the county.)
             4. 15ccket Number:______________________________________________
              5.   Nme of judge to whom    case was assigned:____________________________
              6. Disposition: (Was the case dismissed, appealed, still pending?)

             7. Approxithate date of disposition:

                                                             2
                     1_.
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II.    PLACE OF PRESENT                 CONFNT: C'
III.   EXHAUSTON OF GRIEVANCE PROCEDURES:
       Have you exhausted both steps of the grievance procedure in this institution?
                                                                                                            YES   ,LNO
       Attach a copy of the Step 2 grievance with the response supplied by the prison system.

IV     PARTIES TO THIS SUIT:
       A. Name and address of plaintiff:
                         I    f        ii   4    Ii          I           i_I   i             i
                                                                                                 ,


       B. Full name of each defendant, his official position, his place   of employment, and his full
       mailing addFes.




          Briefly describe:the act(s) or omission(s) of this defendant which you claimed harmed
          you.
                  L          le \n cesoondeit             ioecr   ;, ern1iieec.



          Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed
          you.       :




          '%I   _tt%\..LAA.LiII_UT_             LAL&' _                   Lilt _ UtILU.IL.
          Briefly escribe the act(s) or omission(s) of this defendant which you claimed harmed
          yol.
            DeI                   in        reiice 40      menk   rnca\ oted
          Defendatit                              14ctkh    eiw'ce   Erno1oiiee-', t- too
           c1egb                        o             oee cjecl atiie
          Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed
                                                                                                     iext


          you.




         Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
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 V.      STATEMENT OF CLAIM:
         State here in a       and plain statement the facts of your case, that is, what happened,
                                                                                                      where did it happen,
         when did it happen, and who was involved. Describe how each defendant
                                                                                         is involved. You need not give
         any legal arguments or cite any cases or statutes. If you intend to allege
                                                                                      a number of related claims, number
         and set forth each claim in a separate paragraph. Attach extra pages if
                                                                                    necessary, but remember that the
         complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE,
                                                                                                 THE COURT MAY
         ST1?JKE YOUR COMPLAINT.




VI.     RELIEF: Siate briefly exactly what you want the court to do for you. Make
                                                                                  no legal arguments. Cite no




VII.    GENERAL BACKGROUND INFORMATION:
        A. State, incomplete form, all names you have ever used or been
                                                                        known by including any and all
        aliases:


        B. List all TDCJ-ID identification numbers you have ever been assigned
                                                                               and all other state or federal prison
        or FBI numers ever assigned to you, if known to you.


VIII.   SANCTIONS:
        A. Have you been sanctioned by any court as a result of any lawsuit
                                                                               you have filed?          YES         NO
        B. If your answer is "yes", give the followin,g information for every
                                                                              lawsuit in which sanctions were
        imposed. (If more than one, use another piece of paper and answer the same
                                                                                      questions.)
           1. Court that imposed sanctions (if federal, give the district and division):
           2. Case Number:___________________
           3. Appoximat date sanctions were imposed:___________
           4. Hav the sarctk,s' been lifted or otherwise satisfied?
                __'YES        NO
 U,
                                                          4

                      i   .                        S                                                          S
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         C. Has any court ever warned or notified you that sanctions
                                                                     could be imposed?                   _____YESNO
         D. If your answer is "yes", give the following
                                                     information for every lawsuit in which
             warningwas imposed. (If more than one, use another piece of paper and
                                                                                   answer
             the same questions.)

             1.    Court that imposed warning (if federal, give the district and
                                                                                   division):
             2. Case Number:

             3. Approximate date warnings were imposed:




 Executed on:
                                                                                   sunco        etô




 PLATh4TTFF' S DECLARATIONS

        1.  I declarefunder penalty of perjury all facts presented in
                                                                      this complaint and attachments thereto are true
             and correct.
        2. 1 understand if I am released or transferred, it is my
                                                                  responsibility to keep the Court informed of my
        current mailing address and failure to do so may result in the
                                                                         dismissal of this lawsuit.
        3. I understand that.J must exhaust all available
        4. 1 understhnd I am prohibited from bringing an
                                                           administrative remedies prior to filing this  lawsuit.--
                                                             informapauperis lawsuit if I have brought three or more
        civil actions in a Court of the United States while incarcerated or
                                                                              detained in any facility, which
        were dismissed on the ground they were frivolous, malicious, or
                                                                             failed to state a claim upon which relief
        may be granted, unless I am under imminent danger of serious
                                                                           physical injury.
        5. I understnd even if I am allowed to proceed without
                                                                   prepayment of costs, I am responsible for the entire
        $350 filing fee and êosts assessed by the Court, which shall be
                                                                           deducted in accordance with the law from
        my inmate accqunt by my custodian until the filing fee is paid.


Signedthis        (4    .E
                                        dayof                           ftO3
                             (Day'5                  (monTh)                  (year)

                                                                         A\jik                  erFo        uAu
                                                                         ,,   (Sgr'ature of plaintiff)
WARNING: The !laintiff,is hereby advisêny false or deliberately
                                                                         misleading information provided in.
response to the folf owing questions will result in the imposition of
                                                                      sanctions. The sanctions the Court may
impose include, but are not limited to monetary sanctions and/or
                                                                    the dismissal of this action with prejudice.
                                                                                                   GILES W. DALBY CORRECTIONJtJJ FACILITY
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                                                                                                            INMATE REQUEST FORM
                                                                  N
                                                                         To:j'Y'         UAAL(Le                                                           KATHLEEN CARDONE
                                                                  N                                                                 Date:O(O'2j 41DGE
                                                                  00    Inmate Name:
                                                                  .                                                                 Number        CCt-   t3(5
                                                                  rd
                                                                  2                                                                          tA
                                                                  =
                                                                       Staff Response:
                                                                       Staff Signature                      Date
                                                                                                          INMATE AFTER STAFF RESPONSE
